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                    IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division

UNITED STATES OF AMERICA                              )
                                                      )
               v.                                     )       Criminal No. 3:20cr94-DJN
                                                      )
KIRK GIBBS,                                           )
                                                      )
                       Defendant.                     )


                       JOINT MOTION TO CONTINUE TRIAL DATE

       The United States of America, through the undersigned counsel, and the defendant, through

his counsel Joseph S. Camden, jointly seek an order from the Court continuing the bench trial in

this case (currently scheduled for January 25, 2021) to the mutually agreeable time and date of

September 16, 2021, at 10:00 a.m.

       Following the defendant’s initial appearance and arraignment in this case, the parties have

had the opportunity to discuss trial logistics and evidence collection and presentation. The parties

believe that additional time is necessary in order to both collect additional documentation relevant

to the charges, and to effectively prepare their respective cases.

       In light of the requested continuance, the United States does not object to the modification

of the defendant’s current conditions of release (see Dk. No. 13, at 3) to replace the condition of

home incarceration with that of a curfew, to be determined in the discretion of the defendant’s

supervising Probation Officer; all other aspects of the Court’s Release Order to remain in effect.




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       WHEREFORE, the parties jointly and respectfully request that the bench trial in this case

be continued to September 16, 2021, and that the delay resulting from this continuance be excluded

in computing the time within which a trial must occur pursuant to 18 U.S.C. § 3161(c)(1).



                                             Respectfully submitted,

                                             G. ZACHARY TERWILLIGER
                                             UNITED STATES ATTORNEY

                                     By:                /s/          .
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Seen and Agreed:



           /s/         .
Joseph S. Camden, Esquire
Counsel for Kirk Gibbs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 16, 2020, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

all counsel of record.


                                                               /s/           .
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